         Case 2:07-cv-00196-BLW Document 27 Filed 04/08/08 Page 1 of 2




BRADY LAW, CHARTERED
Michael G. Brady, ISB #1293
St. Mary’s Crossing
2537 W. State Street, Suite 200
Boise, ID 83702

TELEPHONE: (208) 345-8400
FACSIMILE: (208) 322-4486

Attorneys for Plaintiffs

                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO

JAMES FRITZSCHE, DAVID
ERICKSON, DON FRITZSCHE, fka DON
COX;                                        Case No. CV-07-196-N-BLW

                              Plaintiffs,   JUDGMENT

and

J.G. WENTWORTH S.S.C. LIMITED
PARTNERSHIP,

                    Plaintiff-Intervenor,

   v.

METROPOLITAN LIFE INSURANCE
COMPANY, a corporation doing business
in Idaho, METROPOLITAN
REINSURANCE COMPANY, a
corporation doing business in Idaho,
METROPOLITAN INSURANCE
COMPANIES, a corporation doing
business in Idaho, METLIFE GROUP,
INC., a New York corporation doing
business in Idaho, and JOHN DOES 1-10,

                             Defendants.


JUDGMENT – Page 1
       Case 2:07-cv-00196-BLW Document 27 Filed 04/08/08 Page 2 of 2



     Pursuant to the Order of Dismissal filed concurrently herewith,

     IT IS HEREBY ORDERED, ADJUDGED AND DECREED that this action be

 DISMISSED with Prejudice. This matter is hereby deemed closed.


                                            DATED: April 8, 2008



                                            B. LYNN WINMILL
                                            Chief Judge
                                            United States District Court




JUDGMENT – Page 2
